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 1                                                          JUDGE FRANKLIN D. BURGESS
 2

 3

 4

 5                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 6                                     AT TACOMA
 7
     UNITED STATES OF AMERICA,                   )       NO. CR05-5208FDB
 8                                               )
                    Plaintiff,                   )
 9                                               )       ORDER GRANTING STIPULATED
                    vs.                          )       MOTION TO CONTINUE TRIAL
10                                               )       DATE AND PRETRIAL MOTIONS
   JOSE GALEANA,                                 )       DEADLINE
11 GENARO MATA-ABARCA,                           )
   JORGE GALEANA-ABARCA,                         )
12 SIMONE MATA-HERNANDEZ,                        )
                                                 )
13                  Defendants.                  )
                                                 )
14                                               )
15
            Upon motion of the defendants to continue the trial date and pretrial motions due
16
     date, the Court having considered the pleadings of the parties, the records and files
17
     herein, hereby finds that the ends of justice will be served by ordering a continuance in
18
     this case, that a continuance is necessary to insure effective trial preparation and that
19
     these factors outweigh the best interests of the public in a more speedy trial, within the
20
     meaning of 18 U.S.C. § 3161(h)(8)(A).
21
            IT IS THEREFORE ORDERED that the trial date in this case shall be continued from
22
     May 16, 2005 to August 15, 2005 at 9:00 a.m.
23
            IT IS FURTHER ORDERED that the pretrial motions cutoff date shall be continued to
24
     May 6, 2005.
25
     //
26

     ORDER GRANTING                                                       FEDERAL PUBLIC DEFENDER
                                                                                        1331 Broadway, Ste. 400
     STIPULATED MOTION TO CONTINUE                                                  Tacoma, Washington 98402
     PRETRIAL MOTIONS DEADLINE                       1                                          (253) 593-6710
           Case 3:05-cr-05208-FDB          Document 44       Filed 04/19/05      Page 2 of 2



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 2

 3          IT IS FURTHER ORDERED the period of time from the current trial date of May 16,

 4   2005, up to and including the new trial date of August 15, 2005, shall be excludable time

 5   pursuant to the Speedy Trial Act, 18 U.S.C. § 3161 et seq.

 6

 7                  DONE this 19th day of April, 2005.
 8

 9                                    /s/ Franklin D Burgess
                                   JUDGE FRANKLIN D. BURGESS
10                                 UNITED STATES DISTRICT JUDGE
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12   Presented By:
13   /s/ Colin Fieman
     Colin Fieman, Attorney for Defendant Genaro Mata-Abarca
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     ORDER GRANTING                                                          FEDERAL PUBLIC DEFENDER
                                                                                           1331 Broadway, Ste. 400
     STIPULATED MOTION TO CONTINUE                                                     Tacoma, Washington 98402
     PRETRIAL MOTIONS DEADLINE                         2                                           (253) 593-6710
